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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AMERICAN FOREIGN SERVICE
ASSOCIATION, et al.,

              Plaintiffs,

      v.                                             Civil Action No. 1:25-cv-352 (CJN)

DONALD TRUMP, et al.,

              Defendants.


                                              ORDER

       Plaintiffs, two unions that represent employees of USAID, object to various recent

executive branch actions that they allege have “systematically dismantled” that agency. ECF No.

1 (Compl.) at 2. Plaintiffs allege that their members are suffering or will suffer irreparable harm

because of those actions, and late this morning filed a motion for a temporary restraining order

that would “maintain the status quo” while the Court considers more fully whether the challenged

actions are legal. ECF No. 9-1 (Mot.) at 2. The Court explored the alleged harms and claims at a

hearing this afternoon and, for the reasons explained below, will enter a limited TRO.

       To obtain a TRO, “the moving party must show: (1) a substantial likelihood of success on

the merits, (2) that it would suffer irreparable injury if the [TRO] were not granted, (3) that [the

TRO] would not substantially injure other interested parties, and (4) that the public interest would

be furthered” by the TRO. Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297

(D.C. Cir. 2006); see also Hall v. Johnson, 449 F. Supp. 2d 1, 3 n.2 (D.D.C. 2009) (explaining that

the TRO and PI standards are the same). “When the movant seeks to enjoin the government, the




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final two TRO factors—balancing the equities and the public interest—merge.” D.A.M. v. Barr,

474 F. Supp. 3d 45, 67 (D.D.C. 2020).

        Plaintiffs frame their TRO request as pertaining to one overarching event: the allegedly

“illegal and unconstitutional dismantling of USAID.” Mot. at 9. But at the TRO hearing, it became

clear that plaintiffs’ allegations of irreparable injury flow principally from three government

actions: (1) the placement of USAID employees on administrative leave; (2) the expedited

evacuation of USAID employees from their host countries; and (3) Secretary Rubio’s January 24,

2025 order “paus[ing] all new obligations of funding . . . for foreign assistance programs funded

by or through . . . USAID.” Dep’t of State, Memo. 25 STATE 6828. The Court finds that a TRO

is warranted as to the first two actions but not the third.

I.      Administrative Leave

        When the Court received plaintiffs’ TRO motion, it was not clear how many USAID

employees had been or would be placed on administrative leave, or even what precisely

“administrative leave” entailed. The TRO hearing provided some clarity. The government

reported that 500 USAID employees have already been placed on administrative leave and that,

absent a TRO, 2,200 additional USAID employees would be placed on administrative leave by

midnight tonight. The government also reported that employees would still be paid while on

administrative leave. Plaintiffs, meanwhile, contended—as they had in their complaint and

motion—that USAID employees placed on administrative leave, including USAID employees

stationed abroad, lack access to the agency’s email, payment, and “internal security warning/alert

systems.” Mot. at 20; see ECF No. 9-1 ¶ 18. As plaintiffs’ counsel put it at the hearing, overseas

USAID employees placed on administrative leave exist within an “informational vacuum” with

respect to possible threats to their safety.


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       Taking the TRO factors somewhat out of order and beginning with irreparable injury, the

Court finds that plaintiffs have adequately demonstrated that their members are facing irreparable

injury from their placement on administrative leave, and that more members would face such

injury if they were placed on administrative leave tonight. Many USAID personnel work in “high-

risk environments where access to security resources is critical.” ECF No. 9-10 ¶ 14. No future

lawsuit could undo the physical harm that might result if USAID employees are not informed of

imminent security threats occurring in the countries to which they have relocated in the course of

their service to the United States. The government argued at the TRO hearing that placing

employees on paid administrative leave is a garden-variety personnel action unworthy of court

intervention. But administrative leave in Syria is not the same as administrative leave in Bethesda:

simply being paid cannot change that fact.

       Turning to the likelihood of success on the merits, plaintiffs have asserted at least a

colorable argument that placing almost 3,000 USAID employees on administrative leave would

violate the Further Consolidated Appropriations Act of 2024, which requires the State Department

and USAID to consult with Congress before, among other things, “reorganiz[ing]” or

“redesign[ing]” USAID, including by “downsiz[ing]” it. Pub. L. 118-47 §§ 7063(a), (b), 138 Stat.

460 (2024). To be sure, the government strongly objects to this argument, and the Court—without

the benefit of a brief from the government and given the highly compressed timeline—has not had

the opportunity to consider it in detail. But the TRO inquiry operates on a “sliding scale,” wherein

“a strong showing on one factor c[an] make up for a weaker showing on another.” Changji Esquel

Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022) (quotation marks and citation

omitted). Given plaintiffs’ strong arguments about the seriousness of the safety risks posed to




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overseas USAID employees bereft of government support, the Court concludes that plaintiffs’

merits argument is enough to support a TRO here.

       The last TRO factor requires the Court to balance the equities. When the Court asked the

government at the TRO hearing what harm would befall the government if it could not immediately

place on administrative leave the more than 2000 employees in question, it had no response—

beyond asserting without any record support that USAID writ large was possibly engaging in

“corruption and fraud.” The Court thus has no difficulty concluding that the balance of the

hardships favors the plaintiffs. A TRO as to this issue is warranted.

II.    Expedited Evacuations

       Plaintiffs have also alleged that, in addition to being placed on administrative leave,

USAID employees stationed abroad are being ordered to return to the United States on expedited

timelines that are far shorter than those the agency normally prescribes. Specifically, whereas

USAID’s “usual process” provides foreign service officers with six to nine months’ notice before

an international move, plaintiffs allege that USAID has now issued a “mandatory recall notice”

that would require more than 1400 foreign service officers to repatriate within 30 days. Mot. at

18.

       Plaintiffs have demonstrated that this action, too, risks inflicting irreparable harm on their

members. Recalling employees on such short notice disrupts long-settled expectations and makes

it nearly impossible for evacuated employees to adequately plan for their return to the United

States. For instance, one of plaintiffs’ members attests that, if he is recalled from his foreign post,

he will be forced to “[u]proot” his two special-needs-children from school in the middle of the

year, “set[ting] back their development with possible lifelong implications.” ECF No. 9-5 ¶ 6. He

also attests that, because his family has no home in the United States and his children have “lived


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overseas nearly their entire life,” there will be “an inevitable gap—possibly a long one—before

they are back in a stable routine . . . that medical professionals have determined they need to

overcome developmental delays.” Id. Other of plaintiffs’ members tell similar stories, explaining

that the abrupt recall would separate their families, interrupt their medical care, and possibly force

them to “be back in the United States homeless.” See ECF ECF No. 9-4 ¶ 7; ECF No. 9-5 ¶ 8;

ECF No. 9-9 ¶ 6. Even if a future lawsuit could recoup any financial harms stemming from the

expedited evacuations—like the cost of breaking a lease or of abandoning property that could not

be sold prior to the move—it surely could not recoup damage done to educational progress,

physical safety, and family relations.

       The remaining TRO factors shake out in similar way as they did with respect to the

administrative leave question. Plaintiffs again have a plausible argument that the expedited

evacuations are unlawful (here because, on plaintiffs’ telling, they flow from the ultra vires

unilateral closure of USAID’s overseas offices and operations), and the government, while

opposing this argument, has not submitted any briefing on the issue. Nor has the government

articulated any harm that would result to its interests if it could not continue recalling USAID

employees during the next week, while preliminary injunction briefing proceeds. For these

reasons, and again in light of plaintiffs’ strong showing of irreparable harm, the Court finds a TRO

is warranted. See Changji, 40 F.4th at 726.

III.   Funding Freeze

       Plaintiffs finally seek a TRO as to Secretary Rubio’s January 24, 2025 order freezing

funding to USAID’s contractors. As a threshold matter, the Court notes that there are significant

factual questions about what the practical effect of that order is. The government argued at the

hearing that the order only prevents USAID from entering “new obligations of funding”—leaving


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it free to pay out contracts that it entered into prior to January 24, 2025—and indeed, the text of

the order does seem to permit that result. Dep’t of State, Memo. 25 STATE 6828. Yet, plaintiffs

maintained at the TRO hearing that payments on existing USAID grants have been frozen,

preventing certain “contracting officers” employed by USAID from using agency funds to fulfill

monetary commitments that the agency had already made.

       This factual dispute is relevant to plaintiffs’ TRO arguments, but ultimately is not

dispositive of them. Plaintiffs allege that, by some legal mechanism, USAID contracting officers

can be held personally liable for existing contractual expenses that USAID is supposed to, but does

not, pay. Plaintiffs thus argue that those officers face irreparable harm as a result of the funding

freeze because they will be left “holding the bag” when USAID imminently fails to disburse funds.

Separately, plaintiffs argue that the general population of USAID employees will be emotionally

harmed by the agency’s inability to pay its contractors because they will be stuck “watching a slow

speed train wreck” as the agency reneges on its humanitarian commitments.

        Even assuming the funding freeze indeed prevents payments on existing grants in the way

plaintiffs claim (instead of merely preventing USAID from entering new obligations, as the

government suggested during the hearing), the Court concludes that plaintiffs have not

demonstrated resulting irreparable harm. Plaintiffs’ claims about the risk of financial exposure for

contracting officers are simply too speculative. They have not explained how or why contracting

officers would be held personally liable for contracts entered into by USAID, nor have they

explained why there would be no recourse after the fact if that did somehow happen. In response

to the Court’s questioning on those points at the TRO hearing, plaintiffs’ counsel asserted that the

mere “uncertainty” regarding potential exposure would be injurious. But the Court concludes that

this is the kind of hypothetical harm insufficient to warrant a TRO. Cf. Chaplaincy of Full Gospel


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Churches, 454 F.3d at 297 & n.2. The same is true of the similarly hypothetical emotional harm

that might befall USAID employes who are unhappy with the agency’s direction. Id. A TRO as

to the funding freeze therefore is not warranted.

IV.    Conclusion

       For the foregoing reasons, the Court will grant in part plaintiffs’ Motion for Temporary

Restraining Order, ECF No. 9. The Court will enter a TRO as to the administrative leave and

expedited evacuation issues until February 14, 2025 at 11:59 PM. All USAID employees currently

on administrative leave shall be reinstated until that date, and shall be given complete access to

email, payment, and security notification systems until that date, and no additional employees shall

be placed on administrative leave before that date. No USAID employees shall be evacuated from

their host countries before February 14, 2025 at 11:59 PM.

       The Court will also hold an in-person preliminary injunction hearing on February 12, 2025

at 11:00 AM in Courtroom 17. The government shall submit a brief in opposition to Plaintiffs’

Motion, ECF No. 9, on or before 5:00 PM on February 10, 2025, and plaintiffs shall submit a reply

brief on or before 5:00 PM on February 11, 2025.

       SO ORDERED.



DATE: February 7, 2025                                       ________________________
                                                             CARL J. NICHOLS
                                                             United States District Judge




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